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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


                                        :
                                        :
 LUCASYS INC.,                          :
                                        :
       Plaintiff,                       :
                                        :
                                                    CIVIL ACTION NO.
 v.                                     :
                                                    1:20-cv-2987-AT
                                        :
                                        :
 POWERPLAN, INC.,                       :
                                        :
       Defendant.                       :
                                        :
                                     ORDER

      In this antitrust case, Plaintiff Lucasys, Inc. brings claims against Defendant

PowerPlan, Inc. for violations of the antitrust laws, tortious interference with

business relations, defamation, and more, all in connection with products and

services offered by the parties in the arena of tax software for rate-regulated

utilities. Defendant previously moved to dismiss the majority of the claims. The

Court denied that motion in full. After this denial, Defendant filed a Counterclaim

for trade secrets violations under federal and Georgia law, unfair competition, and

litigation expenses. Now before the Court is Plaintiff Lucasys’s Motion to Dismiss

the Counterclaim. [Doc. 49]. Because PowerPlan’s allegations do not plausibly

allege that Plaintiff misappropriated its trade secrets under governing law,

Lucasys’s Motion is GRANTED. However, the Court will permit PowerPlan to file

an amended counterclaim if it seeks to cure the current pleading deficiencies.
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       Background1

       The Court previously provided a comprehensive outline of the facts of this

case in its Order addressing Defendant’s Motion to Dismiss. (See Order, Doc. 35.)

Here, the Court focuses specifically on the allegations in the Counterclaim.

       The Counterclaim alleges that PowerPlan has devoted substantial time,

effort, and money over 25 years to develop its software and related data systems.

(Counterclaim, Doc. 36 ¶ 2.) Embedded in the software and data systems are

PowerPlan’s trade secrets, described further below.

       The three individuals who formed Lucasys in 2018 are Vadim Lantukh,

Daniel Chang, and Stephen Strang. (Id. ¶¶ 3, 4.) All three were employees of

PowerPlan at some point before they founded Lucasys. (Id.¶ 3.) Specifically,

Lantukh worked for PowerPlan from 2007 through 2013 as a manager of software

implementation and later director of professional services (id. ¶ 22); Chang worked

for PowerPlan from 2009 to 2014 as a consultant and later in managerial positions

(id. ¶ 29); and Strang worked for PowerPlan from 2011 to 2015 as a senior

consultant and later in a managerial position (id. ¶ 37). As PowerPlan employees,

all three worked on projects where they had access to PowerPlan software,

proprietary information, and trade secrets. (Id. ¶ 3) All three were subject to

confidentiality and non-disclosure obligations prohibiting them from using or

disclosing    PowerPlan’s      proprietary    information.      (Id.)   In   addition,    the


1The Court derives the factual background from Defendant’s Counterclaim, which the Court
presumes true for purposes of resolving Plaintiff’s Motions to Dismiss. See Duke v. Cleland, 5
F.3d, 1399, 1402 (11th Cir. 1993).
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Counterclaim alleges that another former PowerPlan employee, Vu Nguyen, has

worked with Lucasys as an implementation partner. (Id. ¶ 48.) Nguyen worked for

PowerPlan from 2007 to 2015 and was also subject to non-disclosure and

confidentiality obligations. (Id. ¶¶ 49, 50.)

      Since its founding, Lucasys, among other firms, has provided consulting

services to customers, who are rate-regulated utilities, all of which use PowerPlan’s

software. (Id. ¶ 4.) As alleged, through these consulting contracts, Lucasys has been

afforded continued access to PowerPlan’s software. (Id.) Besides performing

consulting work, Lucasys is also a nascent software competitor, attempting to

develop and offer software products to rate-regulated utility customers. (Id. ¶ 5.)

PowerPlan alleges on information and belief that Lucasys has — in developing its

own software using the knowledge gained by Lantukh, Chang, and Strang —

misappropriated PowerPlan’s proprietary information and trade secrets. (Id.) The

alleged trade secrets include “information embodied in PowerPlan’s proprietary

Software architecture, databases and database models, unique functions and

features, processes, methods, algorithms, and (potentially) source code.” (Id.) The

trade secrets are not identified with any further specificity.

      Accordingly, in the Counterclaim, PowerPlan asserts claims for: a violation

of the Defend Trade Secrets Act, 18 U.S.C. § 1836, (Count I); a violation of the

Georgia Trade Secrets Act, O.C.G.A. § 10-1-760 (Count II); unfair competition

based on the same alleged misappropriation of trade secrets (Count III); and

recovery of litigation expenses under O.C.G.A. § 13-6-11 (Count IV).

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      After PowerPlan filed its Counterclaim, Lucasys first filed a motion

requesting that PowerPlan be required to identify its trade secrets with specificity.

(Doc. 45.) The Court granted that motion. (Doc. 75.) In the instant Motion,

Lucasys seeks dismissal of the Counterclaim for failure to state a claim. The motion

to dismiss has been fully briefed and is now ripe for resolution.

      Legal Standard

      To survive a motion to dismiss under Rule 12(b)(6), “a [counterclaim] must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). For the purposes of a

motion to dismiss, the court must accept all factual allegations in the counterclaim

as true; however, the court is not bound to accept as true a legal conclusion couched

as a factual allegation. Twombly, 550 U.S. at 555. “While legal conclusions can

provide the framework of a [counterclaim], they must be supported by factual

allegations.” Iqbal, 556 U.S. at 679. Although the plaintiff is not required to

provide “detailed factual allegations” to survive dismissal, “threadbare recitals of

the elements of a cause of action, supported by mere conclusory statements, do not

suffice.” Twombly, 550 U.S. at 555, 570; Iqbal, 556 U.S. at 678.

      Discussion

      In seeking dismissal, Lucasys contends that PowerPlan cannot maintain

substantive claims for trade secrets violations because it has alleged only that

Lucasys’s founders had lawful access to proprietary information and has not


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provided plausible factual allegations to support that Lucasys ever used or

misappropriated PowerPlan’s trade secrets in developing its own software. (Brief

in Support of Motion to Dismiss (“Mot.”), Doc. 49-1 at 4-5) (“[T]he allegations of

misuse are based entirely on ‘information and belief,’ and they are totally lacking

in factual content.”). Responding, PowerPlan argues that its allegations that

Lucasys misappropriated PowerPlan’s trade secrets, although alleged upon

information and belief, are plausible when read in the context of the full

Counterclaim and in light of the roles that Lantukh, Chang, and Strang played at

PowerPlan and then in later founding Lucasys. (Def. Resp., Doc. 52 at 2.)

PowerPlan also argues that, because the details of Lucasys’s alleged

misappropriation are exclusively within the possession of Lucasys, its allegations

upon information and belief are sufficient at this stage. (Id.)

      “A claim for misappropriation of trade secrets under the Georgia Trade

Secrets Act requires a plaintiff to prove that ‘(1) it had a trade secret and (2) the

opposing party misappropriated the trade secret.’” Cap. Asset Research Corp. v.

Finnegan, 160 F.3d 683, 685 (11th Cir. 1998) (citing Camp Creek Hosp. Inns, Inc.

v. Sheraton Franchise Corp., 139 F.3d 1396, 1410 (11th Cir. 1998). The federal

trade secrets statute, the Defendant Trade Secrets Act, 18 U.S.C. § 1836, “requires

the same showing, but with the additional requirement that the trade secret ‘is

related to a product or service used in, or intended for use in, interstate or foreign

commerce.’” Johnson Matthey Process Techs., Inc. v. Hovey, 2021 WL 5513988,

at *3 (S.D. Ga. July 8, 2021) (quoting Argos USA LLC v. Young, 2019 WL 4125968,

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at *5 (N.D. Ga. June 28, 2019) (quoting Agilysys, Inc. v. Hall, 258 F. Supp. 3d 1331,

1348 (N.D. Ga. 2017)); see also AWP, Inc. v. Henry, 2020 WL 6876299, at *3 (N.D.

Ga. Oct. 28, 2020) (same); U.S. Sec. Assoc. v. Lumby, 2019 WL 8277263, at *10

(N.D. Ga. Sept. 25, 2019) (same).

      For purposes of its Motion, Lucasys does not contest that PowerPlan has

alleged that it has trade secrets in the information embodied in its software and

databases. At issue is whether PowerPlan has plausibly alleged the second element

of a trade secrets claim: misappropriation.

      Under both the Georgia Trade Secrets Act and the federal Defendant Trade

Secrets Act, a defendant misappropriates a trade secret when that defendant (1)

“acquires a trade secret from someone the defendant has reason to know acquired

the trade secret by improper means” or (2) “when the defendant ‘discloses or uses

a trade secret of another, without express or implied consent, knowing that at the

time of disclosure or use the trade secret was acquired under circumstances giving

rise to a duty to maintain its secrecy or limit its use.’” Diamond Power Int’l, Inc. v.

Davidson, 540 F. Supp. 2d 1322, 1338 (N.D. Ga. 2007) (quoting Penalty Kick

Mgmt. Ltd. v. Coca Cola Co., 318 F.3d 1284, 1292 (11th Cir. 2003) (and citing 18

U.S.C. § 1839(5); O.C.G.A. § 10-1-761(2)). “Misappropriation need not be actual, as

threatened misappropriation” constitutes actionable conduct. Hovey, 2021 WL

5513988, at *3 (citing 18 U.S.C. § 1836(b)(3)(A)(i); O.C.G.A. § 10-1-762. Under

both statutes, acquisition of trade secrets by “improper means,” includes by theft,



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bribery, misrepresentation, breach or inducement of a breach of duty to maintain

secrecy. Id. (citing 18 U.S.C. § 1839(6); O.C.G.A. § 10-1-761(1)).

      Here, PowerPlan argues that it has properly pled misappropriation because

it has alleged, upon information and belief, that Lucasys acquired trade secrets

from Lantukh, Chang, or Strang. (Def. Resp., Doc. 52 at 9-10) (citing Counterclaim

¶¶ 65, 75.) PowerPlan relies exclusively on the nature of the roles played by

Lantukh, Chang, and Strang as former PowerPlan employees with access to

proprietary information and then as founders of Lucasys. (Def. Resp., Doc. 52 at

5) (highlighting the allegation that it is “virtually impossible for [Lantukh] and

Lucasys to design and develop the Lucasys software without relying on confidential

and proprietary aspects of PowerPlan Software” in light of Lantuk’s many years

working with PowerPlan Software). In the Counterclaim, PowerPlan does not

allege that Lantukh, Chang, or Strang acquired any trade secrets by improper

means (theft, bribery, etc.). PowerPlan also does not allege with any specific facts

how Lucasys may have used, or threatened to use, any trade secrets, or even what

particular trade secrets are at issue.

      Georgia courts evaluating trade secrets claims have found that, “[a]t bottom,

the mere possession of a trade secret is not enough to state a claim of threatened

misappropriation.” AWP v. Henry, 2020 WL 6876299, at *4 (N.D. Ga. Oct. 28,

2020) (citing Del Monte v. Fresh Produce Co. v. Dole Food Co., 148 F. Supp. 2d

1326, 1338 (S.D. Fla. 2001); see also Hovey, 2021 WL 5513988, at *5 (S.D. Ga. July

8, 2021) (“It is not enough for Plaintiff to generally allege that Defendant Hovey’s

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possession of the trade secrets means that Defendant G.W. Aru has

misappropriated the information”); Painters Supply & Equip, Co. v. Barkwell,

2020 WL 7051337, at *2 (N.D. Ga. Dec. 1, 2020) (granting motion to dismiss where

the plaintiff “did not demonstrate a causal link between [the defendant-

employee’s] possession of an alleged trade secret and [the defendant-employer]

obtaining business from [plaintiff’s] customers”); Putters v. RMax Operating,

LLC, 2014 WL 1466902, at *3 (N.D. Ga. Apr. 15, 2014) (finding no trade secret

violation where trade secrets were undisputedly acquired lawfully through

employment, and thus not through improper means, and there were no specific

allegations of misuse by defendant) (citing Onbrand Media v. Codex Consulting,

Inc., 687 S.E.2d 168, 175 (Ga. Ct. App. 2009) (“Even assuming that the Defendants

did have knowledge of the Plaintiffs’ trade secrets, there is no evidence that any

such information was obtained in any way other than by voluntary disclosure by

the Plaintiffs.”)).

       In all of the cases upon which PowerPlan relies, the allegations involved

some manner of acquisition of the trade secrets by improper means and/or specific

allegations of the defendant’s misuse of that information. See Brocade Commc'ns

Sys., Inc. v. A10 Networks, Inc., 2011 WL 1044899, at *5, 6 (N.D. Cal. Mar. 23,

2011) (denying motion to dismiss where complaint alleged that: defendant

company recruited many employees of one of plaintiff companies (Foundry); those

recruited employees passed Foundry’s technical information to defendant while

still employed; one individual used Foundry’s resources while conducting

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business for defendant; defendant company was funded in part by investments

from employees still working for other plaintiff company (Brocade); and defendant

used Brocade’s source code to launch its competing product); Novus Grp., LLC v.

Prudential Fin., Inc., 2019 WL 4452708, at *7 (S.D. Ohio Sept. 17, 2019) (denying

motion to dismiss where complaint alleged that individuals took specific trade

secrets about innovative annuity product, disclosed them to new employer in

violation of confidentiality agreement, and new employer released highly similar

specific annuity product after exposure to secrets); Calendar Rsch. LLC. v.

StubHub, Inc., 2017 WL 10378336, at *4 (C.D. Cal. Aug. 16, 2017) (denying motion

to dismiss as to StubHub where complaint alleged that individual improperly

downloaded proprietary information, maintained access to source code, and

sought to use that source code while working for StubHub, and where a different

StubHub employee stated desire to incorporate plaintiff’s source code into

StubHub’s existing and future applications); AirWatch LLC v. Mobile Iron, Inc.,

2013 WL 4757491, at *5 (N.D. Ga. Sept. 4, 2013) (denying motion to dismiss where

complaint alleged that defendant used improper means in acquiring plaintiff’s

trade secrets by using false identities, email addresses, phone numbers, and fake

business to access proprietary information).

      Here, in making the argument that Lucasys must have misappropriated

PowerPlan’s trade secrets solely by virtue of Lantukh, Chang, and Strang’s roles as

former PowerPlan employees and subsequent founders of Lucasys, PowerPlan

effectively asks the Court to adopt the “inevitable disclosure doctrine.” This

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doctrine allows a plaintiff to prove misappropriation of trade secrets by showing

that a defendant’s new employment will inevitably lead him to rely on the plaintiff’s

trade secrets. See AWP, 2020 WL 6876299, at *4 (citing Holton v. Physician

Oncology Servs., LP, 742 S.E.2d 702, 705 (Ga. 2013)). “The doctrine enables a

trade secret owner to prevent a former employee from working for a competitor …

by demonstrating the employee’s new job will inevitably cause the employee to rely

upon knowledge of the former employer’s trade secrets. The doctrine may impose

a noncompete covenant where one does not exist.” Id.

      As the Georgia Supreme Court has explained, “this theory remains the

subject of considerable disagreement.” Holton, 742 S.E.2d at 705. The Holton

Court ultimately held that the inevitable disclosure doctrine “is not an independent

claim under which a trial court may enjoin an employee from working for an

employer or disclosing trade secrets” but declined to address whether the doctrine

“may be applied to support a claim for the threatened misappropriation of trade

secrets.” Id. at 706. Since Holton, the Georgia Supreme Court has not shed further

light on this issue.

      In AWP, Inc. v. Henry, another judge in this district addressed an argument

similar to the one made by PowerPlan here: that the nature of the relevant

relationships were such that disclosure of trade secrets was inevitable and thus the

complaint stated a claim for misappropriation of trade secrets. 2020 WL 6876299,

at *4-5. There, Judge Grimberg declined to adopt the inevitable disclosure doctrine

under the facts of that case, noting that:

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        To permit AWP to state a claim based solely on Puckett’s and
       Temple’s alleged possession of trade secrets—and AWP’s speculation
       that they will ultimately be wielded against it—would be to drastically
       expand the scope of the GTSA and DTSA. Ostensibly, this would hold
       McNulty and L30 to a judicially-created restrictive covenant.

Id. at *5.

       The Court finds that the same cautionary logic applies here. To allow

PowerPlan to state a claim based exclusively upon the facts that Lantukh, Chang,

and Strang had access to PowerPlan’s vaguely-described trade secrets and, some

years later, formed a competitor entity would effectively be to enforce permanent

non-compete agreements where no such agreements existed. Without some

allegations as to the specific trade secrets at issue (e.g., source code associated with

a particular function or application); the manner in which Lucasys has threatened

to use, or has used, those trade secrets; and/or specifics regarding any improper

means by which Lantukh, Chang, or Strang acquired particular trade secrets,

PowerPlan cannot maintain claims for trade secret violations.

       The Court understands that the allegations here involve a situation

somewhat distinct from others in that Lantukh, Chang, and Strang are not only

employees of Lucasys but its founders. Nevertheless, PowerPlan has provided the

Court with no authority in which a court has held that this distinction alone is

sufficient to maintain trade secrets claims where there are no specific allegations

that trade secrets were acquired by improper means and no allegations as to how,

in particular, the defendant company has used or intends to use specific trade

secrets at issue.

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       The Court also acknowledges the reality that much of the information as to

Lucasys’s actions is within the possession of Lucasys, not PowerPlan. The Court

recognizes the authority cited by PowerPlan that pleading facts upon information

and belief is appropriate where the facts are peculiarly within the possession of the

defendant (or Plaintiff, here) or where the belief is based on factual information

that makes the inference of culpability plausible. (See Def. Resp. at 7) (citing

Henderson v. One West Bank FSB, 2011 U.S. Dist. LEXIS 163433, at *26 (N.D. Ga.

July 25, 2011) report and recommendation adopted, 2011 U.S. Dist. LEXIS 163435

(N.D. Ga. Aug. 18, 2011); Amin v. Mercedes-Benz USA, LLC, 349 F. Supp. 3d 1338,

1357 (N.D. Ga. 2018)). But here, fully accepting the facts pled upon information

and belief, the allegations are still conclusory and lack the requisite specificity to

plausibly state a claim for trade secrets violations for the reasons articulated above.

       For these reasons, the trade secrets claims, Counts I and II, are due to be

dismissed as well as the derivative claims asserted in Counts III and IV.2 The Court,

however, will allow PowerPlan to, as requested, file an amended complaint and

attempt to rectify the insufficiencies identified in this Order.

       Conclusion

         For the reasons above, Plaintiff Lucasys’s Motion to Dismiss PowerPlan’s

Counterclaim [Doc. 49] is GRANTED. The Counterclaim is DISMISSED




2As Count III, for unfair competition, is based entirely on the alleged trade secrets violations, this
claim fails as well. Count IV, for litigation expenses, is derivative of the substantive trade secrets
claims and therefore also cannot proceed at this juncture.
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WITHOUT PREJUDICE. PowerPlan shall have 30 days to file an amended

counterclaim.


       IT IS SO ORDERED this 10th day of May 2022.


                                   ____________________________
                                   Honorable Amy Totenberg
                                   United States District Judge




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